       Case 4:20-cv-00329-JAJ-HCA Document 9-1 Filed 12/28/20 Page 1 of 14




                              IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF IOWA


 JESSICA BENSLEY,                                                           Case No. 4:20-cv-00329-JAJ-HCA

         Plaintiff,
 vs.
                                                                       PAUL PATE’S MEMORANDUM OF
                                                                      LAW IN SUPPORT OF PRE-ANSWER
 PAUL PATE, Iowa Secretary of State, and
                                                                      MOTION TO DISMISS AND REQUEST
 JAMIE FITZGERALD, Polk County Auditor,                                  TO TAKE JUDICIAL NOTICE

         Defendants.



        COMES NOW Iowa Secretary of State Paul Pate and submits this memorandum of law

in support of his Pre-Answer Motion to Dismiss and Request to Take Judicial Notice.

                                               TABLE OF CONTENTS

I.      STATEMENT OF THE CASE........................................................................................... 2
II.     MOTION STANDARDS ................................................................................................... 2
III.    JUDICIAL NOTICE ........................................................................................................... 3
IV.     FACTUAL AND PROCEDURAL BACKGROUND........................................................ 4
V.      ARGUMENT ...................................................................................................................... 8
        A.        Denial of Right to Vote ......................................................................................... 10
        B.        Procedural Due Process ........................................................................................ 11
        C.        Secretary Pate is entitled to qualified immunity from suit in his individual
                  capacity and from damages in his official capacity. ............................................. 12
VI.     ALTERNATIVE REQUEST FOR INTERLOCUTORY APPEAL STATEMENT........ 13
VII.    CONCLUSION ................................................................................................................. 14
      Case 4:20-cv-00329-JAJ-HCA Document 9-1 Filed 12/28/20 Page 2 of 14




I.     STATEMENT OF THE CASE

       Plaintiff Jessica Bensley brings this 42 U.S.C. § 1983 action alleging that Defendants Iowa

Secretary of State Paul Pate and Polk County Auditor Jamie Fitzgerald violated Plaintiff’s right to

vote when Plaintiff’s name and voting eligibility was incorrectly listed with felon status when

Plaintiff voted on November 6, 2018. [Doc. 1.] Ms. Bensley brings two counts: (1) deprivation

or denial of her right to vote, and (2) denial of procedural due process. This court has subject

matter jurisdiction pursuant to 28 U.S.C. § 1331.

       Secretary of State Pate did not exercise any state authority when Plaintiff was asked to vote

a provisional ballot at the November 2018 General Election. Thus, Secretary Pate has not acted

under color of state law as required for § 1983 liability. Plaintiff has not stated a claim upon which

relief may be granted, and the Court should dismiss the complaint. Fed. R. Civ. P. 12(b)(6).

II.    MOTION STANDARDS

       The Federal Rules of Civil Procedure require that a complaint contain “a short and plain

statement of the claim showing that the pleader is entitled to relief”, and that it “be simple, concise,

and direct.” Fed. R. Civ. P. 8(a)(2), (d)(1). Rule 8 “does not require ‘detailed factual allegations,’

but it demands more than an unadorned, the-defendant-unlawfully-harmed-me accusation.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 555 (2007)). “ ‘[T]o survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to state a claim for relief that is plausible on its face.’” Hamilton v. Palm,

621 F.3d 816, 817 (8th Cir. 2010) (quoting Iqbal, 556 U.S. at 678). Facial plausibility is something

more than “sheer plausibility” -- a well-pleaded complaint will contain facts that are more than

“merely consistent with” a defendant’s liability. Iqbal, 556 U.S. at 678.




                                                   2
       Case 4:20-cv-00329-JAJ-HCA Document 9-1 Filed 12/28/20 Page 3 of 14




        By contrast, “[a] pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of

the elements of a cause of action will not do.’” Id. This is because legal conclusions couched as

factual allegations fail to do the work of “showing” the entitlement to relief that Rule 8 requires.

Id. at 678-79. Thus, the Plaintiff’s formulaic and conclusory allegation the Defendants “acted

under color of the laws of the State of Iowa” [Doc. 1, ⁋⁋ 4-5], does not sufficiently plead underlying

facts necessary to support the elements of the Plaintiff’s claims. See Iqbal, 556 U.S. at 678 (“Nor

does a complaint suffice if it tenders naked assertions devoid of further factual enhancement.”

(internal quotations and marks omitted)). Such legal conclusions masquerading as facts are not

entitled to the presumption of truth Rule 8 bestows on bona fide factual allegations. Id. at 679. As

detailed below, to state a § 1983 claim, a “[p]laintiff must plead facts demonstrating that the

individual committing the offending action was acting under color of state law.” Rickmyer v.

Browne, 995 F. Supp. 2d 989, 997 (D. Minn. 2014). Plaintiff has failed to plead facts plausibly

showing any entitlement to relief. Rule 12(b)(6) provides that a court must dismiss an action if a

plaintiff has not stated a claim upon which relief may be granted. Fed. R. Civ. P. 12(b)(6).

III.    JUDICIAL NOTICE

        When addressing a Rule 12(b)(6) motion, “the court generally must ignore materials

outside the pleadings, but it may consider some materials that are part of the public record or do

not contradict the complaint, as well as materials that are necessarily embraced by the pleadings.”

Smithrud v. City of St. Paul, 746 F.3d 391, 395 (8th Cir. 2014) (quoting Porous Media Corp. v.

Pall Corp., 186 F.3d 1077, 1079 (8th Cir. 1999)). A court must take judicial notice of a fact if a

party requests that it do so, the party supplies the necessary information, and the fact “can be

accurately and readily determined from sources whose accuracy cannot reasonably be questioned.”

Fed. R. Evid. 201(b)(2), (c)(2). Accordingly, this Court can take judicial notice of the exhibits



                                                  3
      Case 4:20-cv-00329-JAJ-HCA Document 9-1 Filed 12/28/20 Page 4 of 14




attached to this motion as they qualify under Rule 201, do not contradict the complaint, and are

public records or are embraced by the complaint. See Kittle-Aikeley v. Strong, 844 F.3d 727, 744

(8th Cir. 2016) (taking judicial notice of websites) (en banc) (Beam, J., concurring and dissenting);

Cannon v. District of Columbia, 717 F.3d 200, 205 n.2 (D.C. Cir. 2013) (noticing documents

maintained on a government website).

       There is no longer a heightened pleading requirement for § 1983 suits against individuals.

Doe v. Cassel, 403 F.3d 986, 989 (8th Cir. 2005). However, the policy reason remains for requiring

complaints to contain adequate factual material to allow public official defendants to respond with

a coherent defense. See Elliott v. Perez, 751 F.2d 1472, 1476 (5th Cir. 1985) (detailing how

“broad, indefinite and conclusory” allegations lead to “disruption of the official’s duties, and

frustration of the protections and policies underlying the immunity doctrine.”)

IV.    FACTUAL AND PROCEDURAL BACKGROUND

       The facts presented here are those alleged by the Plaintiff in the complaint accepted as true

for purposes of this motion, Hamilton, 621 F.3d at 817, or are matters embraced by the complaint

and contained in the attached exhibits whose accuracy cannot be reasonably questioned, Porous

Media, 186 F.3d at 1079, Fed. R. Evid. 201(b)(2), (c)(2).

       Iowa Secretary of State Paul Pate is the State Commissioner of Elections. Iowa Code

§ 47.1; [Doc. 1, ⁋ 4]. Secretary Pate’s duties as state commissioner include supervising the

activities of county commissioners of elections, prescribing uniform practices and procedures,

providing necessary forms for the conduct of elections, and promulgating rules necessary to carry

out those duties. See Iowa Code § 47.1. In addition, Secretary Pate is the State Registrar of Voters.

Iowa Code § 47.7(1). In this role, Secretary Pate is required to maintain “a single, uniform,




                                                 4
      Case 4:20-cv-00329-JAJ-HCA Document 9-1 Filed 12/28/20 Page 5 of 14




official, centralized” voter registration database. Iowa Code § 47.7(2)(a). This database is

commonly known as I-Voters. [Doc. 1 ⁋ 20].

       The right to vote in Iowa is a fundamental right. See Iowa Const. Art. II, §1; Chiodo v.

Section 43.24 Panel, 846 N.W.2d 845 (Iowa 2014). However, the right to vote in Iowa is not

absolute. An eligible voter must be a citizen of the United States, a resident of Iowa, at least

eighteen years old, and not registered anyplace else. See Iowa Code §48A.5. In addition, a person

is disqualified from voting if the person has been convicted of a felony under state or federal law

and his or her rights have not been restored or the person has been judged incompetent to vote by

a district court. See Iowa Code §48A.6.

       As noted above, I-Voters is the common name for the statewide voter registration system.

I-Voters is maintained by the Secretary of State.         Each county auditor is responsible for

maintaining the information about that county’s voters within the I-Voters system. [Doc. 1, ⁋ 28].

This includes voter registration Iowa Code § 48A.3, changes to registration records, Iowa Code

§ 48A.27, updated maintenance of the registration rolls, Iowa Code § 48A.28; and updating voter

history.

       A voter’s registration is canceled when the Secretary of State receives information that a

voter has been convicted of a felony. See Iowa Code § 48A.30. The clerk of the district court, or

the United States attorney sends information that a registered voter has been convicted of a felony

to the Secretary of State. See Iowa Code § 48A.30(1)(d). The Secretary of State determines in

which county the voter was registered and notifies the county auditor of the conviction. See id.

The county auditor cancels the registration and sends notice to the voter that his or her registration

has been canceled because of the felony conviction. See Iowa Code §48A.30(2).




                                                  5
     Case 4:20-cv-00329-JAJ-HCA Document 9-1 Filed 12/28/20 Page 6 of 14




       Plaintiff Jessica Bensley, a resident of Des Moines was charged with a felony in June 2011.

[Doc. 1, ¶ 8]. She eventually pled guilty to an aggravated misdemeanor charge and received a

suspended sentence. [Doc. 1, ¶ 12]. Bensley was charged with two additional felonies unrelated

to this June 2011 incident, which were dismissed. [Doc. 1, ¶ 13]. Plaintiff has never been

convicted of a felony. [Doc. 1, ¶ 14]. From 2012 to 2018, Bensley voted in local and national

elections without incident. [Doc. 1, ¶ 15]. She alleges that she voted as “usual” at the Staves

United Methodist Church in Polk County, Iowa on November 6, 2018. [Doc. 1, ¶ 17].

       Under article II, section 5 of the Iowa Constitution, no “person convicted of any infamous

crime, shall be entitled to the privilege of an elector.” Iowa Code section 39.3(8) defines

“infamous crime” as a felony. See also Iowa Code § 48A.6(1) (providing that any person “who

has been convicted of a felony” is disqualified from registering to vote or voting). The Iowa

Supreme Court upheld this definition in Griffin v. Pate, 884 N.W.2d 182 (Iowa 2016).

       Plaintiff Jessica Bensley first registered to vote in August 2009. (Ex. 1). However, that

registration was canceled in January 2010 when the Polk County Auditor was unable to verify her

residential address. (Ex. 1). Ms. Bensley registered again on Election Day in 2012. (Ex. 1). Ms.

Bensley voted in the 2016 General Election. (Ex. 1). Ms. Bensley updated her registration when

she moved in 2014 and again when she changed residences in 2017. (Ex. 1).

       In August 2017, the Secretary of State received notice from the Iowa District Court that

Ms. Bensley was a convicted felon. (Ex. 1). The Secretary of State notified the Polk County

Auditor, and in September 2017 the Polk County Auditor mailed Ms. Bensley correspondence

informing her that her voter registration had been canceled because of a felony conviction. (Ex.

1). Ms. Bensley apparently did nothing with this notice to correct the Polk County Auditor.




                                                6
       Case 4:20-cv-00329-JAJ-HCA Document 9-1 Filed 12/28/20 Page 7 of 14




         In fact, Ms. Bensley did nothing at all with her voting status until she showed up to vote

on election day, November 6, 2018. [Doc. 1, ⁋ 39]. Like all voters at the 2018 General Election,

Ms. Bensley was asked to show identification so that the precinct election official could check her

in and provide her a ballot. See Iowa Code § 49.78. Upon pulling up Ms. Bensley’s voter record,

the precinct election official saw that Ms. Bensley’s registration was canceled because she had

been identified by the Iowa District Court as a felon. Importantly, Ms. Bensley was not turned

away at polls. Rather, she was offered and voted a provisional ballot. Ms. Bensley alleges that no

one informed her that there was an issue with her registration or ballot. [Doc. 1, ⁋ 40]. But this

was not the case. She was given a receipt for that ballot explaining why she was voting a

provisional ballot, and what she was required to do to cure any registration deficiency to allow the

ballot to be counted, and the deadline by which she had to act. Ms. Bensley failed to take any

action to cure her provisional ballot. Then, in compliance with state law, the Auditor mailed Ms.

Bensley a notice that her ballot had not been counted because she had failed to cure the defect.

[Doc. 1, ⁋ 41]. Only after Ms. Bensley received this letter did she contact the Polk County

Auditor’s office, on November 26, 2018. [Doc. 1, ⁋ 46].

         Upon receiving the call from Ms. Bensley, the Polk County Auditor and Secretary of State

offices went to work. [Doc. 1 ⁋ 49]. On December 4, 2018, Ms. Bensley’s voter registration

profile was corrected, and Ms. Bensley’s eligibility to vote was confirmed. [Doc. 1, ⁋ 55]; (Ex.

1).1 Ms. Bensley subsequently has voted in a local option sales tax special election in March 2019,

in the city and school election in November 2019, in the Primary Election in June 2020, and in the

General Election in November 2020. [Doc. 1 ⁋ 56]; (Ex. 1).



1
  Ms. Bensley alleges that the voter profile lists her as a “former felon.” [Doc. 1, ⁋⁋ 53-54]. This is not a statement
of her legal standing. It is a quirk of a system that was developed in 2006 after the passage of the Help America Vote
Act. See Iowa Code § 47.7.

                                                          7
      Case 4:20-cv-00329-JAJ-HCA Document 9-1 Filed 12/28/20 Page 8 of 14




        Plaintiff alleges that Secretary Pate and Auditor Fitzgerald denied her her right to vote.

[Doc. 1, ⁋ 59]. Plaintiff further alleges that the defendants failed to provide her with due process

to challenge her classification as a felon in the I-Voters system. [Doc. 1, ⁋ 62].

V.      ARGUMENT

        The Plaintiff has failed to adequately state a claim that Secretary Pate violated 42 U.S.C. §

1983 when Plaintiff’s voter registration was canceled because she was listed as a convicted felon

in information provided by the clerk of the district court. Ms. Bensley was sent notice that her

voter registration was canceled at the time that it happened. She was offered and voted a

provisional ballot and made aware of the need to correct the error at the time she voted the ballot.

Ms. Bensley did not avail herself of the opportunity at either time. Secretary Pate did not act in

any impermissible manner with respect to Ms. Bensley’s right to vote.

        To test the adequacy of the complaint, it is necessary first to discuss the substantive

“principles implicated by the complaint” by “taking note of the elements [the] plaintiff must plead

to state [the] claim” contained in the complaint. See Ashcroft v. Iqbal, 556 U.S. 662, 675–77 (2009)

(following Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) and discussing elements of

discrimination claim). Here, the Plaintiff’s § 1983 claim can be distilled to two elements. In the

statutory parlance of § 1983, any “person who, under color of any statute, ordinance, regulation,

custom, or usage, of any State . . . subjects . . . any . . . person within the jurisdiction thereof to the

deprivation of any rights, privileges, or immunities secured by the Constitution and laws, shall be

liable to the party injured . . . .” 42 U.S.C. § 1983. More plainly: “To state a claim under § 1983,

a plaintiff must allege the violation of a right secured by the Constitution and laws of the United

States, and must show that the alleged deprivation was committed by a person acting under color




                                                    8
      Case 4:20-cv-00329-JAJ-HCA Document 9-1 Filed 12/28/20 Page 9 of 14




of state law.” West v. Atkins, 487 U.S. 42, 48 (1988). So, the Plaintiff must prove Secretary Pate

(1) acted under color of state law and (2) violated Ms. Bensley’s right to vote.

       A substantial body of case law defines what it means for a person to act under color of state

law. The under-color-of-state-law standard derives from case law defining the “state action”

requirement of the Fourteenth Amendment, and it is given content by reference to that older and

broader body of case law. In fact, the original forerunner to § 1983 “was passed for the express

purpose of enforcing the Provisions of the Fourteenth Amendment.” Lugar v. Edmondson Oil Co.,

Inc., 457 U.S. 922, 934 (1982) (internal citations and marks omitted). But if § 1983 creates “a

remedy as broad as the protection that the Fourteenth Amendment affords,” id., it is a creature of

that Amendment and can be no broader. At the same time, the Plaintiff’s underlying constitutional

claim is enforceable against a state actor only because it was “incorporated” against the states by

the Fourteenth Amendment. See New York Times v. Sullivan, 376 U.S. 254, 277 (1964) (citing

Gitlow v. New York, 268 U.S. 652, 666 (1925)). Thus, the Fourteenth Amendment state-action

requirement limits the Plaintiff’s § 1983 claim twice over. The Fourteenth Amendment to the

United States Constitution provides in pertinent part that “No State shall . . . deprive any person

of life, liberty, or property without due process of law.” U.S. Const. amend XIV (emphasis added).

The Court’s jurisprudence of the ensuing century-plus has taught that “the action inhibited by the

first section of the Fourteenth Amendment is only such action as may fairly be said to be that of

the States.” Blum v. Yaretsky, 457 U.S. 991, 1002 (1982) (quoting Shelley v. Kraemer, 334 U.S. 1,

13 (1948)). “That Amendment erects no shield against merely private conduct, however

discriminatory or wrongful.” Id. (quoting Shelley, 334 U.S. at 13). The “time-honored” state-action

requirement is “necessary to prevent the Fourteenth Amendment from obliterating the Framers’

carefully crafted balance of power between the States and the National Government.” United



                                                 9
     Case 4:20-cv-00329-JAJ-HCA Document 9-1 Filed 12/28/20 Page 10 of 14




States v. Morrison, 529 U.S. 598, 620 (2000) (citing United States v. Harris, 106 U.S. 629, 639

(1883)). That is, absent the state-action requirement, the Fourteenth Amendment would essentially

strip the states of their general police power and shift that power to the federal government. Id.

“Careful adherence to the ‘state action’ requirement preserves an area of individual freedom by

limiting the reach of federal law and federal judicial power.” Lugar, 457 U.S. at 936. “By enforcing

that constitutional boundary between the governmental and the private, the state-action doctrine

protects a robust sphere of individual liberty.” Manhattan Cmty. Access Corp. v. Halleck, 139 S.

Ct. 1921, 1928 (2019). Thus, the under-color-of-state-law element of Plaintiff’s § 1983 claim is

no mere statutory contrivance; it is the statutory embodiment of primary principles of federalism.

The element inheres “a fundamental fact of our political order” requiring federal courts “to respect

the limits of their own power as directed against state governments and private interests.” Lugar,

457 U.S. at 936–37.

       A.      Denial of Right to Vote

       Ms. Bensley first claims that Secretary Pate denied her right to vote. However, nothing in

her complaint points to any action by Secretary Pate that prevented Ms. Bensley from casting a

ballot. The Complaint alleges that Secretary Pate maintains a “felony exclusion database.” [Doc.

1, ⁋ 22]. Secretary Pate maintains the I-Voters database, [Doc. 1, ⁋ 20], that contains the

registration status and voting history of each registered voter in Iowa. Responsibility to keep the

records of each voter in a county lies with the county auditor of that county. See Iowa Code

§47.7(2)(c).

       Ms. Bensley alleges that Secretary Pate and his predecessors have been aware since 2012

of errors regarding felon records in the I-Voters database. [Doc. 1, ⁋⁋ 34-38]. However, she does

not point to any action by Secretary Pate at the time her voter file was updated with information


                                                10
     Case 4:20-cv-00329-JAJ-HCA Document 9-1 Filed 12/28/20 Page 11 of 14




from the clerk of court. Rather, she points fingers at the Secretary and county auditors over

resources and responsibility. What she does not do, however, is allege any facts that show that

Secretary Pate knew that records of felony convictions that he received in 2017 were incorrect, let

alone that he knew that her record was incorrect. Moreover, she does not allege that the Secretary

was ignoring errors in I-Voters. In fact, her complaint shows that Secretary Pate and his

predecessor were working to correct errors. [Doc. 1, ⁋⁋ 34-38]. Indeed, Ms. Bensley does not

allege one act by the Secretary that prevented her from casting a ballot. In fact, the Secretary of

State is not responsible for conducting an election. Each alleged misstep by Secretary Pate and

his predecessors are at most ministerial, and while perhaps inconvenient, do not result in a denial

of the franchise because of the protections available to voters in Iowa law.

       The fact that there were errors in the database does not relieve a convicted felon of the loss

of the right to vote unless and until those rights are restored under Iowa law. Likewise, a registered

voter who was incorrectly flagged with a canceled voter registration had notice and opportunity at

the time of cancelation or when presenting to vote to correct the error through the provisional ballot

process.

       B.      Procedural Due Process

       “Procedural due process” requires a two-step review: first, whether there exists a liberty or

property interest of which a person has been deprived, and second, whether the procedures

followed by the State were constitutionally sufficient. Jenner v. Nikolas, 823 F.3d 713, 716 (8th

Cir. 2016) (citing Swarthout v. Cooke, 562 U.S. 216, 219, 131 S.Ct. 859, 178 L.Ed.2d 732

(2011). Plaintiff alleges that she did not know that her ballot in the November 2018 General

Election was not counted until she received a notification on November 20, 2018. Complaint ⁋

41. However, Ms. Bensley’s voter profile shows that she was sent a notice at her current address


                                                 11
      Case 4:20-cv-00329-JAJ-HCA Document 9-1 Filed 12/28/20 Page 12 of 14




that her voter registration was canceled in August 2017. Even assuming that Ms. Bensley did not

receive that notification or was unaware of it when she went to vote in 2018, she would have been

given a receipt for a provisional ballot at the time we voted. See Iowa Code § 49.81. It is

undisputable that Ms. Bensley voted a provisional ballot because she received the letter on

November 20, 2018 informing her that the county was unable to count her ballot.2 [Doc. 1, ⁋ 41].

That letter was required by Iowa law. See Iowa Code 50.22(3). Ms. Bensley had from the time

she voted until the special precinct board convened at noon the Monday following the election to

provide a statement or documents correcting the error in her voter registration profile that would

have allowed the special precinct board to count her ballot. See Iowa Code § 50.20. Thus, Iowa

law plainly provides an opportunity to Ms. Bensley to be heard before her provisional ballot was

considered. Ms. Bensley failed to avail herself of that opportunity. Likewise, her procedural due

process claim must fail.

         C.       Secretary Pate is entitled to qualified immunity from suit in his individual
                  capacity and from damages in his official capacity.

         Secretary Pate is immune from this suit due to the qualified immunity doctrine and is

immune from damages in his official capacity due to the State of Iowa’s sovereign immunity.

Despite arguing defendants acted under color of state law, the Plaintiff has not named the state as

a party. The Eleventh Amendment would foreclose any liability. U.S. Const. amend 11. Instead,

the Plaintiff has named Secretary Pate in his individual capacity as Iowa Secretary of State. The

doctrines of qualified and sovereign immunity protect Pate from all but one of Plaintiff’s requests

for relief.



2
 The court presumes the facts as alleged in the Complaint as true for the purposes of this Motion to Dismiss, but the
Court does not have to accept completely implausible factual allegations. Iqbal, 556 U.S. at 679 (“Determining
whether a complaint states a plausible claim for relief will . . . be a context-specific task that requires the reviewing
court to draw on its judicial experience and common sense.”).

                                                           12
      Case 4:20-cv-00329-JAJ-HCA Document 9-1 Filed 12/28/20 Page 13 of 14




        First, as an individual, Secretary Pate is entitled to qualified immunity. Qualified immunity

shields public officials from civil liability in a § 1983 action when their conduct “does not violate

clearly established statutory or constitutional rights of which a reasonable person would have

known.” Pearson v. Callahan, 555 U.S. 223, 231 (2009); see also Morgan v. Robinson, 920 F.3d

521, 523 (8th Cir. 2019) (en banc). The Court routinely reiterates “the longstanding principle” that

“ ‘clearly established law’ should not be defined ‘at a high level of generality.’ ” White v. Pauly,

137 S. Ct. 548, 552 (2017). Instead, “the clearly established law must be ‘particularized’ to the

facts of the case.” Id.

        Second, a long-standing legal fiction allows a plaintiff to circumvent the Eleventh

Amendment and doctrines of immunity by naming a state official in their official capacity. Ex

parte Young, 209 U.S. 123, 160 (1908). Yet, such suits extend only to suits “seeking prospective

injunctive relief for violations of federal law,” and do not allow for money damages. Klingler v.

Dir., Dep’t of Revenue, 281 F.3d 776, 777 (8th Cir. 2002). The Plaintiff’s request for money

damages must be dismissed.

VI.     ALTERNATIVE REQUEST FOR INTERLOCUTORY APPEAL STATEMENT

        Should the Court deny Defendants’ motion, Secretary Pate requests that the Court state that

the “order involves a controlling question of law as to which there is substantial ground for

difference of opinion and that an immediate appeal from the order may materially advance the

ultimate termination of the litigation.” 28 U.S.C. § 1292. If the Court so states in its order,

Secretary Pate additionally requests that the Court stay the action while he pursues permission for,

and, if granted, undertakes, an interlocutory appeal pursuant to Federal Rule of Appellate

Procedure 5.




                                                 13
       Case 4:20-cv-00329-JAJ-HCA Document 9-1 Filed 12/28/20 Page 14 of 14




VII.    CONCLUSION

        Plaintiff does not state any claim upon which relief may be granted. The Court should

dismiss the complaint. Short of that, the Court should dismiss Secretary Pate and in his individual

capacity because he has qualified immunity, and it should dismiss money-damages claims against

him in his official capacity because they are barred by Iowa’s sovereign immunity.

                                                      Respectfully submitted,

                                                      THOMAS J. MILLER
                                                      Attorney General of Iowa

                                                      /s/ Jeffrey S. Thompson
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                                                      ATTORNEY FOR DEFENDANT PATE

                                                                         PROOF OF SERVICE

                                                   The undersigned certifies that the foregoing instrument was served
                                                 upon each of the persons identified as receiving a copy by delivery in the
                                                 following manner on December 28, 2020:

                                                          U.S. Mail                         FAX
                                                          Hand Delivery                     Overnight Courier
                                                          Federal Express                   Other
                                                          CM/ECF

                                                 Signature: /s/ Audra Drish




                                                14
